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 1    Steve W. Berman (pro hac vice)                 Kelly M. Klaus (SBN 161091)
      Mark S. Carlson (pro hac vice)                 Blanca F. Young (SBN 217533)
 2    HAGENS BERMAN SOBOL SHAPIRO LLP                John L. Schwab (SBN 301386)
      1301 Second Avenue                             MUNGER, TOLLES & OLSON LLP
 3
      Suite 2000                                     560 Mission Street, 27th Floor
 4    Seattle, WA 98101                              San Francisco, CA 94105-2907
      Telephone: (206) 623-7292                      Telephone: (415) 512-4000
 5    Facsimile: (206) 623-0594                      Facsimile: (415) 512-4077
      steve@hbsslaw.com                              kelly.klaus@mto.com
 6    markc@hbsslaw.com                              blanca.young@mto.com
                                                     john.schwab@mto.com
 7
      Rio S. Pierce, CBA No. 298297
 8    HAGENS BERMAN SOBOL SHAPIRO LLP                Attorneys for Defendants
      715 Hearst Avenue, Suite 202
 9    Berkeley, CA 94710
      Telephone: (510) 725-3000
10    Facsimile: (510) 725-3001
      riop@hbsslaw.com
11
      Attorneys for Plaintiffs
12

13                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
14                                     OAKLAND DIVISION
15   REARDEN LLC, REARDEN MOVA LLC,                    Case No.     4:17-cv-04006-JST
16                                     Plaintiffs,
17
              v.
18
     DISNEY ENTERPRISES, INC., a Delaware              STIPULATION AND [PROPOSED]
19   corporation, DISNEY STUDIO PRODUCTION             ORDER RE SUMMARY JUDGMENT
     SERVICES CO., LLC f/k/a WALT DISNEY               AND DAUBERT BRIEFING
20   PICTURES PRODUCTION, LLC, a California            SCHEDULE
21   limited liability company, WALT DISNEY
     PICTURES, a California corporation,               Date: August 17, 2023
22   MARVEL STUDIOS, LLC a Delaware limited            Time: 2:00 p.m.
     liability company, MVL PRODUCTIONS LLC,           Judge: Hon. Jon S. Tigar
23   a Delaware limited liability company, CHIP        Ctrm.: 6 (2nd Floor)
     PICTURES, INC., a California corporation,
24   INFINITY PRODUCTIONS LLC, a Delaware
25   limited liability company, ASSEMBLED
     PRODUCTIONS II LLC, a Delaware limited
26   liability company,

27                                   Defendants.
28
     STIPULATION AND [PROPOSED] ORDER
     CASE NO. 17-CV-04006
     50792814.1
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 1                              STIPULATION AND [PROPOSED] ORDER

 2           1.     WHEREAS on July 1, 2022, the Court entered a Stipulation and Order Re Case

 3   Management (As Modified) (the “current Case Scheduling Order,” Dkt. 313) setting August 3, 2023

 4   as the date for Daubert and Summary Judgment Motions (the “Motions”) to be heard;

 5           2.     WHEREAS on March 22, 2022, the Court entered a Stipulation and Order Re Expert

 6   Report Schedule (Dkt. 368) continuing the hearing the date for the Motions to August 17, 2023;

 7           3.     WHEREAS the parties are diligently working on completing the briefing for the

 8   Motions but Plaintiffs require additional time to complete their oppositions and Defendants do not

 9   oppose an extension;

10           4.     WHEREAS the modification proposed below will not affect any deadlines set forth in
11   the current Case Scheduling Order other than the Motions;

12           5.     WHEREAS this is the Parties’ second request to adjust the case schedule as set forth in

13   the current Case Scheduling Order;

14           6.     NOW THEREFORE, the Parties stipulate that there is good cause to adjust the case

15   schedule as follows:

16     Event                                         Current Deadline              Proposed Deadline
17     Due date for:                                 July 27, 2023                 August 3, 2023
18     (1) Plaintiffs’ Opposition to Defendants’
19     Motion for Summary Judgment
20     (2) The Parties’ Opposition to Daubert
21     Motions
22     Due date for:                                 August 3, 2023                August 17, 2023
23     (1) Defendants’ Reply in Support of Motion
24     for Summary Judgment
25     (2) The Parties’ Replies in Support of
26     Daubert Motions
27

28
      STIPULATION AND [PROPOSED] ORDER - 1
      CASE NO. 17-CV-04006
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 1
      Hearing of Daubert and dispositive motions        August 17, 2023                August 31, 2023 or
 2
                                                                                       the earliest date
 3
                                                                                       thereafter that the
 4
                                                                                       court is available
 5

 6
             7.     Electronic signatures are sufficient for the Parties to execute this stipulation.
 7
     DATED: July 25, 2023                   HAGENS BERMAN SOBOL SHAPIRO LLP
 8

 9
                                                    By:    /s/ Mark Carlson
10                                                         MARK S. CARLSON
                                                    Attorneys for Plaintiffs
11

12
     DATED: July 25, 2023                   MUNGER, TOLLES & OLSON LLP
13
                                                    By:    /s/ Blanca Young
14                                                         BLANCA F. YOUNG
                                                    Attorneys for Defendants
15

16
                                             [PROPOSED] ORDER
17
              Pursuant to the parties’ stipulation, the Court hereby adopts the briefing deadlines above.
18
     The hearing on the motions is hereby continued to October 12, 2023.
19

20
     ___________________,
            July 26       2023
21

22                                                  The Honorable Jon S. Tigar
                                                    United States District Judge
23

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     STIPULATION AND [PROPOSED] ORDER - 2
     CASE NO. 17-CV-04006
     50792814.1
